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  2
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      Attorneys for Debtor
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                                 UNITED STATES BANKRUPTCY COURT
 10                              NORTHERN DISTRICT OF CALIFORNIA

 11   In Re:                                               Case No. 20-10003
 12   Deborah Louise Bowman                                 Chapter 13
 13
                       Debtor.
 14                                   /

 15                       APPLICATION FOR ORDER AMENDING ORDER
                         AUTHORIZING DEBTOR TO SELL REAL PROPERTY
 16
 17            Chapter 13 Debtor, Deborah Louise Bowman, hereby applies for an order modifying this

 18   court’s order sale of real property.
 19            1.     Debtor is the owner of a single family dwelling commonly described
 20
      as 3941 Golden Gate Avenue, Santa Rosa, CA, APN 035-091-005-000 (the “Property”). and
 21
      more particularly described in Exhibit A attached hereto.
 22
 23            2.     Debtor filed chapter 13 on January 3, 2020, to stop the foreclosure initiated by

 24   Asset Default Management, Inc. that would have resulted in the loss of the Property had the

 25   foreclosure been concluded. Debtor’s Chapter 13 plan, that has not been confirmed, provides:
 26
                      “The Debtor shall sell the Santa Rosa property. Debtor to pay net sale
 27                   proceeds to the Chapter 13 Trustee on or before June 14, 2020. However,
                      if the debtor has an opened bona fide escrow for the sale, the debtor shall
 28                   have up to 60 days from the date escrow is opened to close the sale. The

                                                  1
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  1                    Trustee will be the disbursing agent for all pre-petition arrears.
  2
                       Net proceeds of sale are defined as price at which property sells, less
  3                    ordinary and necessary costs of sale, including real estate commissions, less
                       payment in full to Thomas J. Terry III, less Petitioner’s allowed
  4                    homestead exemption, less capital gains tax if any, payment to be made to
                       the Chapter 13 Trustee directly from escrow.”
  5
             3.        Debtor has accepted an offer of $344,000 to purchase the Property from Angel
  6
  7   Rincon Gallardo.

  8          4.        The Property is encumbered with the following liens that are to be paid through
  9   escrow:
 10
             (i)    Property taxes, including any personal property taxes and assessments collected
 11          with taxes that are as follows:
 12                    Code Area: 004284
 13                    Tax Identification No.: 035-091-005-000
                       Fiscal Year: 2019-2020
 14                    1st Installment: $397.86, Paid
                       2nd Installment: $3,642.05, Open
 15
             (ii)    The lien of supplemental or escaped assessments of property taxes, if any, made
 16
             pursuant to the provisions of Chapter 3.5 (commencing with Section 75) or Part 2,
 17          Chapter 3, Articles 3 and 4, respectively, of the Revenue and Taxation Code of the State
             of California as a result of the transfer of title to the vestee named in Schedule A or as a
 18          result of changes in ownership or new construction occurring prior to Date of Policy.
 19          (iii)    A deed of trust to secure an indebtedness in the amount shown below.
 20
                       Amount:            $200,000
 21                    Dated:             September 5, 2018
                       Trustor/Grantor:   Deborah Bowman, an unmarried woman and Antonio
 22                                       Vasquez, an unmarried man as joint tenants
                    Trustee:              Superior Loan Servicing
 23
                    Beneficiary:          Thomas J. Terry III, an unmarried man c/o Superior Loan
 24                                       Servicing
                    Recording Date:       September 7, 2019
 25                 Recording No.:        2018063624
                    Re-Recording Date: July 11, 2019
 26                 Re-Recording No.: 2019047442
 27                 Reason:               to correct legal description
             Debtor estimates the balance due to Superior Loan Servicing is approximately
 28   $213,582.10.

                                                        2
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  1
             (iv)     A judgment, for the amount shown below, and any other amounts due:
  2
  3          Amount: $15,175.85
             Debtor: Deborah Bowman
  4          Creditor: Dan Jensen d/b/a Redwood Judgment Recovery
             Date entered: June 17, 2009
  5          County: Sonoma
  6          Court: Superior
             Case No.: MSC176175
  7          Recording Date: July 15, 2019
             Recording No: 2019048264, of Official Records
  8
             5. On March 26, 2020, the court authorized the sale on the terms set forth above.. The
  9
 10   sale fell through. On April 30, 2020, the debtor received a $370,000 all cash offer, no

 11   contingencies, from Joseph Rubin, who is prepared to close the sale as quickly as the title
 12   company is able to close.
 13
             6. The difference between the order authorizing the sale and the modified order the
 14
      debtor is requesting is a change in the name of the buyer, an increase in the sale price from
 15
      $344,000 to $370,000 and no contingencies.
 16
 17          7.       Debtor requests authority to pay directly out of escrow:

 18          (i) The ordinary and customary costs of sale.
 19          (ii) The real property taxes due the County of Sonoma,
 20
             (iii) The principal obligation to Superior Loan Servicing on behalf of Thomas J. Terry,
 21
      III that is secured by a deed of trust document number 2019047442 of Official Records, with the
 22
 23   pre-petition arrears to paid by the chapter 13 Trustee.

 24          (iv) The obligation to Dan Jensen d/b/a Redwood Judgment Recovery, that is secured by

 25   a judgment document number 2019048264 of Official Records,
 26
             (v) $75,000 of proceeds to Deborah Bowman,
 27
 28

                                                      3
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  1          (vi) The balance of the sale proceeds to the Chapter 13 Trustee pursuant to Debtor’s
  2
      proposed chapter 13 plan.
  3
             WHEREFORE, the Debtor requests the court authorize her to sell the Property on the
  4
      terms set forth above with the order to reflect that the Chapter 13 Trustee is to be the disbursing
  5
  6   agent on all pre-petition arrears.

  7   Dated: May 4, 2020                            /s/ Michael C. Fallon
                                                    Michael C. Fallon
  8                                                 Attorney for the Debtor
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                                                            EXHIBIT "A"
                                                           Legal Description


For APN/Parcel ID(s): 035-091-005-000
THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF SANTA ROSA, COUNTY OF
SONOMA, STATE OF CALIFORNIA AND IS DESCRIBED AS FOLLOWS:

BEING A PORTION OF LOT 15 AS SHOWN UPON THE MAP ENTITLED "LEDDY PARK", ETC., FILED
DECEMBER 22, 1921 IN BOOK 40 OF MAPS, PAGE 14, SONOMA COUNTY RECORDS, SAID PORTION
BEING DESCRIBED AS FOLLOWS:

BEGINNING AT THE SOUTHWESTERLY CORNER OF SAID LOT 15, THENCE NORTH 5° 25' WEST ALONG
THE WEST LINE 170 FEET; THENCE NORTH 84° 11' EAST 250 FEET TO THE EASTERLY LINE OF SAID
LOT; THENCE ALONG THE EASTERLY LINE SOUTH 5° 25' EAST 170 FEET TO THE SOUTHEASTERLY
CORNER OF SAID LOT; THENCE ALONG THE SOUTHERLY LINE, SOUTH 84° 11' WEST 250 FEET TO THE
POINT OF BEGINNING.

EXCEPTING THEREFROM THAT PORTION DESCRIBED IN THE DEED FROM W. A. JOHNSTON, ET UX, TO
RICHARD D. PESTONI, DATED AUGUST 19, 1949 AND RECORDED AUGUST 23, 1949 IN BOOK 901 OF
OFFICIAL RECORDS, PAGE 352, SONOMA COUNTY RECORDS.




CLTA Preliminary Report Form - Modified (11.17.06)                                          Printed: 02.11.20 @ 09:42 AM by DG
SCA0002402.doc / Updated: 07.10.19                                 3                        CA-FT---SPS-1-20-FSNX-0012000594


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